      Case 6:23-cv-01081-JAR-GEB Document 18 Filed 06/08/23 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 ROBERT CRAFT,

            Plaintiff,

            v.                                             Case No. 23-1081-JAR-GEB

 JACOB TOWNSEND, et al.,

            Defendants.


                                            ORDER

       Plaintiff Robert Craft, a former Kansas Department of Corrections (“KDOC”) employee,

filed this pro se action on May 9, 2023, alleging claims against several other KDOC employees

arising out of his termination. Plaintiff paid the filing fee and summons was issued to

Defendants. Defendants have now been served and their answer deadlines were extended to

June 14, 2023. In the meantime, Plaintiff has filed several motions he indicates are “emergency”

motions and suggests that because he has given Defendants notice of these filings, the Court

should immediately rule. The Court will not rule on these motions until it hears from

Defendants. Defendants shall respond to Plaintiff’s Motion for Emergency Provisional

Remedy (Doc. 10), Request for Hearing on Plaintiff’s Motion for Emergency Provisional

Remedy (Doc. 15), and Motion for Temporary Restraining Order and Motion for

Preliminary Injunction (Doc. 16), no later than seven days after filing their Answers.

       IT IS SO ORDERED.

       Dated: June 8, 2023

                                                  S/ Julie A. Robinson
                                                  JULIE A. ROBINSON
                                                  UNITED STATES DISTRICT JUDGE
